
Fbeeman, J.,
delivered the opinion of the Court.
The only question presented in this case arises on the mode of computing interest on the following note:
“$2000. One day after date we, or either of us, *130promise to pay William Park, guardian, etc., two thousand dollars, with interest from this day until paid, for value received. The interest on' said sum to be promptly paid at the end of every six months until the principal shall be paid.”
The point made is, whether the interest is simply to be calculated from date of the note to its payment, ■or whether interest was contracted to be paid at the end of every six months, and on failure whether such interest shall be held as a debt due by contract" and ■bear interest.
We hold the latter to be the proper construction ■of the paper.' To construe it in any other way would be to ignore the latter part of the contract entirely, and to read the note as if no such stipulation had been inserted in it.
The provision is clear and unmistakable, that “the interest on said sum is to be paid promptly at the end of every six months until the principal shall be paid.” It is then a contract by which the interest becomes due as a debt at the end of every six months; and this, like any other debt due, bears interest at the legal rate from the time due till paid.
The Chancellor having taken this view of the question, the decree below is affirmed, with costs of that court and of this.
Note. — To same effect are 69 N. C., 89; 3 Richardson, S. C., 125; 2 Disney (Ohio), 398; 11 American Reports, 228 (9 R. I., 132), and authorities there cited.
